Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 1 of 44




                                    EXHIBIT 5
    Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 2 of 44




         




         !                                                                                                       
             #%$               &$ $$          '$%        %       "!%$     %'               '$% &




       "
      
       
        
      
      "&  $      #    $  "      F    "    % B &"%#$"    F %       %


                                                    $#      
                  ') ($




                     #&*" $&"#
                 &,&!#"#
                       #(


                        $"#"'#"#+!&"&!
                       !#"$####+
                       ##!%!$"


                         & $""%"#!
                         (# "# "
Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 3 of 44
            (+$!$#&##&##"
            $#)                                                  

                                                                                      
                                                                                      *6;?.:.
                                                                                      -*
                                                                                     :*20;42;
                                                                                      <*-
                                                                                      7//.:260
                                                                                       1:
                                                                                      <71.48*
                                                                                      ?75*6
                                                                                      G6-
                                                                                      D26<.4420.
                                                                                      6<?.44
                                                                                      .-=,*<.
                                                                                      -5.6E

  $.9=72**82<*447+*4*6*0260"*:<6.:7=0.76.;8.*3;76;<*0.-=:260*A
  7/%.,1:=6,12;:=8<$   *<7;,76..6<.:76$.8<.5+.:   26$*6
                                                                                         A.*:
  :*6,2;,7*42/7:62*                                                              74-E;+*:
                                                                                      764A
            
                                                                                     84*A;
                                                                                      ?75.6E
                                                                                      ;;87:<;
                 6&.#9&15/)"<334".%"2%34()37"3"$2":9                        76<1.
                 7&&+                                                               %';C2<
                                                                                      +:7=01<
                 (&        9&"2/,%6&.452&$"0)4",?2-,/.'4(&                  26
                                                                                      *457;<
                 &.69/A)43),)$/.",,&90&&23#&$"53&/A&"2,9                    
                 #&43/.00,& )3$/         //',& ).+&%.                   5244276
                                                                                      26
                     ("4300".%!//- *53472"00&%50"?6&                        576<1;
                 %"9342&4$(4("4A/2-".92)6",37/5,%-"2+"
                 342/.'?6&9&"225.                                                 *42/7:62
                                                                                      *+*6;
                                                                                      <1.;*4.
                 &15/)"("3".  34"+&)../7@"+&7()$(                        7/6.?
                 ("%4(&#)''&343/A47"2&&6&2".%)34(&                        -2.;.4
                 ,"2'&34/7.&2/A'"-).'$/-0".9.)494",3/                       <:=,3;
                                                                                      +A    
                 /7.33("2&3).5-//')$7()$(%&#54&%/.
                 (523%"9

                 &15/)"<3(/,%).'3).4(/3&4(2&&$/-0".)&3
                 "2&7/24("#/54#),,)/."3/A2)%"9<3$,/3&


                  % (            (   < )+ + (         ) ,     %)
Case 1:25-cv-23147-DPG     Document 1-5 Entered on FLSD Docket 07/15/2025 Page 4 of 44
           .%4(&.4(&2&<3)+/+(&3/$)",-&%)""00                   &;.<12;
           /7.&%#9()."<394&".$&)35.%&202&3352&                      ?7:-
                                                                           :.;876;
           #94(&25-0"%-).)342"4)/.".%A"$).'"                       .?1.6
           0/4&.4)",#".4()37&&+&.%&15/)"                       ;75.76
                                                                           .2;:=-.
           7()$(,"5.$(&%"()."/0&2"4)/.).  )3
                                                                           <7A7=
           ".).6&34/2).94&".$&".%("3#&&.(&,0).'                   ;*A;
                                                                           *:>*:-
           4(&$/-0".9."6)'"4&)43/04)/.3
                                                                           <:*26.-
                                                                           .<29=.<<
           &15/)"0"24.&23352&,97/5,%.<4("6&                           ..@8.:<
              02&%)$4&%4()3,&6&,/A"$4)6)493)8-/.4(3"'/
              7(&.4(&?2-3&.4"2/5.%"-&-/4/0/24A/,)/                                          *:3
                                                                                                    =+*6
              $/-0".)&37"2.).'4(&-/A4(&0/4&.4)",
                                                                                                    ;*A;1.
              ?.".$)",)-0"$4/A4(&$/2/."6)253&15/)"                                          ,7=4-
              52'&%34"24503"44(&4)-&4/0"9$,/3&                                              0.<
                                                                                                    57:.
              "44&.4)/.4/4(&)2$"3(0/3)4)/.37"2.&%4(&-                                        8.784.
              4("4?.".$).'"$4)6)49$/5,%=3/A4&.                                                  <78*A
                                                                                                        /7:
              3)'.)?$".4,9>35''&34&%4("4$534/-&2                                                %?2<<.:E;
              30&.%).'-"9%2/0".%3")%)47"34)-&4/                                             +4=.
                                                                                                    ,1.,35
              &8"-).&7(&4(&24(&9$/5,%=%/-/2&7)4(                                              *:3;
              ,&33>7(&.$/.3)%&2).'(&"%$/5.4                                                    <1*6
                                                                                                    476
                                                                                                    =;3



                                                                                                 


                                                                                     


                                                                                !  
                                                                               %
                                                                               " 




  %1. .?)7:3$<7,3@,1*60.?.4,75.;&62<A$7/<?*:.6, )$&:2-*A
  $.8<.5+.:     *;<1.A7H,2*44A+.026<:*-260<7-*A
                                                                               $   
  
                                                                               !#%
                                                                               #                !

              (&-&-/7"3.<4$/-0,&4&,9/B4"2'&4/6)%

               (              %        ( A (                           %
Case 1:25-cv-23147-DPG    Document 1-5 Entered on FLSD Docket 07/15/2025 Page 5 of 44
           0&/0,&).4(&53).')44/$2&"4&".%7"4$(
          3(/246)%&/3

          6&24(&0"343)87&&+3&/.&".%"4&"-"4
          &15/)"",/.'7)4(3/-&/A94&".$&<3/4(&2
          ).6&34/23("6&"$4&%"3,)")3/.3#&47&&.
          4(&$/-0".9".%4(&'/6&2.-&.4".%
          ("6&(&,0&%&80,/2&0/4&.4)",3/,54)/.34/
          "6/)%"3(54%/7."$$/2%).'4/"0&23/.
          A"-),)"27)4(4(&-"44&27(/"3+&%./44/#&
          ."-&%#&$"53&4(&%)3$533)/.37&2&
          $/.?%&.4)",(& "3().'4/./34".% ",,
          42&&4/52.",02&6)/53,92&0/24&%/.&15/)"<3
          ).6/,6&-&.4).4(&02/$&33

          (&%2"-"("305,,&%).3/-&/A4(&#)''&34
          $/-0".)&3)$2/3/A4//',&
            ",-"24   ".%2"$,&     ",,&-&2'&%"3
          0/4&.4)",#59&23/A)+/+3/4("44(&
          /0&2"4)/.7/5,%#&#"3&%).4(&/2&
          2&$&.4,92"$,&("%0,"..&%4/#&$/-&"
          4&$(./,/'90"24.&2A/2)+/+(/34).'4(&
          %"4"/.)43$,/5%7(),&4"+).'"34"+&).4(&
          $/-0".9/"%%2&33/7.&23()0$/.$&2.3
          94&".$&7/5,%30)./B)+/+4(2/5'(".
          /."34/$+&8$(".'&"$$/2%).'4/
          0&/0,&A"-),)"27)4(4(&-"44&2

             ("4&6&2("00&.37)4()+/+&15/)")3
          '&.&2"4).'0,&.49/A-/.&9A/2)43,)-)4&%
          0"24.&234/*534)A94(&-/2&4(". #),,)/.)4
          2")3&%&"2,)&24()335--&2A/2A5.%3).4(&
          ()."".%.%)"

          &".7(),&/.&/A)43+&9$/-0&4)4/23).4(&
          ,"4&34"'&?.".$).'-"2+&4("32&42&.$(&%

           A    +< ) )       %    + %          )
         Case 1:25-cv-23147-DPG       Document 1-5 Entered on FLSD Docket 07/15/2025 Page 6 of
  0#  " 
                            -/&+                                                   44
                                                                                            ,.&+.'%1'4*&




                                                      That order also requires TikTok to wait 10 days before
                                                      closing a deal, starting from when it tells CFIUS of the
                                                      business agreement. Even if TikTok submitted its
                                                      notification on Sunday, that is still fewer than 10 days
                                                      before Trump’s Sept. 20 deadline.

                                                      In an interview with CNBC Monday morning, Treasury
                                                      Secretary Steven Mnuchin said that a proposal for the
                                                      TikTok partnership with Oracle had been received over
                                                      the weekend and that CFIUS would review it this
                                                      week.

                                                      “I will confirm we did get a proposal over the
                                                      weekend that includes Oracle as the trusted
                                                      technology, partner with Oracle making many
                                                      representations for national security issues,” Mnuchin
                                                      said on CNBC. “We’ll be reviewing that at the CFIUS
                                                      Committee this week and then we’ll be making a
                                                      recommendation to the President and reviewing it
                                                      with him.”

                                                      Mnuchin added that the Oracle proposal includes a
                                                      commitment to make TikTok “a US-headquartered
                                                      company with 20,000 new jobs.”

                                                      In a statement, Oracle confirmed that it had reached

 3..&+#2.$.'%'%.%,.&)./  //# //" //!/.                        (,
           Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 7 *+#(+$".##2'%
                                                                                         of 44
    1 !  !  , 



                                                                                                                                                                     




    TECHDIRT          GREENHOUSE       TECH & COVID         FREE SPEECH    DEALS      JOBS     SUPPORT TECHDIRT                                                                
                                                                                                                           Follow Techdirt

                                Techdirt – Threatcasting The Election

      Josh Hawley Isn't 'Helping' When It Comes To TikTok                   Daily Deal: Interactive Learn to Code Bundle
                                                                                                                           Insider Shop - Show Your Support!


   The TikTok Oracle Grift: Insiders Admit They Went Hunting For A
   Tech Company The President Liked
                                                                                                                           Essential Reading
                      from the because-of-course dept
                      Wed, Sep 16th 2020 9:43am — Mike Masnick                                                               New To Techdirt?
                      Earlier this week we wrote about the absolute grift involved in the TikTok / Oracle deal.              Explore some core concepts:
                      Contrary to the framing that this was Oracle "buying" TikTok to satisfy the President's                   The Grand Unified Theory On The
                      unconstitutional demand that the Chinese company ByteDance sell TikTok to an American                     Economics Of Free
           Politics   company, the story showed that this was just a hosting deal for Oracle's cloud service, which
                      is way down the list of top cloud providers.                                                              Saying You Can't Compete With Free Is
                                                                                                                                Saying You Can't Compete Period
   The end result was no actual sale (though the Treasury Department is still "reviewing" the deal), but a big
   contract for Oracle, and a bogus story in which the President can pretend he forced ByteDance to "sell"                      Infinity Is Your Friend In Economics
   TikTok, even though it retains ownership in the company (there are some rumors that the hosting deal will                                                     read all »
   include a small, and probably symbolic, equity stake for Oracle).
                                                                                                                             Trending Posts
   The other key point I noted in my article was that Oracle's executive leadership, starting with Larry Ellison,
   but including CEO Safra Catz, have been cozying up to Trump and the White House ever since Trump                                 Stop Saying 'If You're Not Paying,
                                                                                                                                    You're The Product'
   became President. While much of Silicon Valley's executive teams have made it quite clear how
   uncomfortable they are with a Trump Presidency, Oracle... has done the opposite. And while I framed it as                        Content Moderation Case Study:
   being convenient that things worked out this way, a report from the Wall Street Journal highlights how this                      Twitter Removes Account For
                                                                                                                                    Pointing Users To Leaked Documents
   was the grift from day one.
                                                                                                                                    Obtained By A Hacking Collective
                                                                                                                                    (June 2020)
           Oracle was originally brought into the negotiations to provide an alternative to
                                                                                                                                    The TikTok Oracle Grift: Insiders
           Microsoft Corp., a rival bidder with Walmart as a partner, said one person familiar with                                 Admit They Went Hunting For A Tech
           the talks. The U.S. investment firms Sequoia Capital and General Atlantic, which are                                     Company The President Liked
           existing investors in ByteDance, went in search of a tech company with close ties to
           the administration and settled on Oracle, the person said.                                                      Techdirt Insider Chat
                                                                                                                            y           y                       y    p
                                                                                                                            Jeffrey Nonken: Vidiot: exactly what I was
   As we discussed earlier, from day one of this silly ordeal, the President made it clear he would steer a deal            thinking. Full circle.
   to a company he personally liked (meaning one where the leadership licked his boots, apparently). After                  BentFranklin: https://mango.pdf.zone/finding-
   all, after first saying that he was going to block TikTok in the US, as rumors of Microsoft's involvement came           former-australian-prime-minister-tony-abbotts-
   out, Trump immediately said that he would block a deal with Microsoft. Microsoft had to go grovelling to                 passport-number-on-instagram
                                                                                                                            .
   Trump over a weekend to have him say, grudgingly, they could continue to pursue a deal.
                                                                                                                            https://www.rand.org/content/dam/rand/pubs/resea
   Then, of course, there's the Walmart story. Rumors came out that Walmart was a leading bidder, but                       .
                                                                                                                            https://secure.avaaz.org/campaign/en/facebook_th
   Trump's White House stepped in and told them they would block that deal too, because it would show
                                                                                                                            Jeffrey Nonken:
   that Trump's figleaf "national security" explanation for banning TikTok was an obvious lie.                              https://www.euractiv.com/section/5g/news/macron-
                                                                                                                            slams-anti-5g-proponents-as-amish-causing-
   In other words, throughout this nonsense process, the President -- who at one point also demanded a                      uproar-in-france/
   finder's fee for any deal -- made it clear that this was about his own whims. He was forcing a sale, and he              Macron compared to Trump and Napoleon in
   was going to pick a winner -- and the winner had to be someone he liked.                                                 one article.
                                                                                                                            https://www.theregister.com/2020/09/16/mod_urba
   That doesn't seem like the kind of free market people appreciate. It seems like the very worst of a corrupt
   crony capitalist system.

   The WSJ piece details how being corrupt this whole process was. It was all about stroking Trump's ego, and                           Join the Insider Chat
   lining his campaign's bank account:

                                                                                                                           Recent Stories
           Sequoia Capital used its own connections to push the administration to allow TikTok to
           continue operating in the U.S., say people familiar with the discussions. Doug Leone,                           Wednesday
           the firm’s global managing partner who took a lead role lobbying on TikTok’s behalf,                            19:55 EA To Rebrand Its Origin Platform As It Bows Out
           has donated tens of thousands of dollars to Republican candidates this election season                                Of The PC Gaming Platform Wars (0)

           along with his wife, including to the president’s re-election campaign. Mr. Leone also                          15:30 Content Moderation Case Study: Twitter Removes



1++     //++$"$""*#'+#)$%#'&'%#%+-0---!- ---!--/                               #&
           Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 8 *+#(+$".##2'%
                                                                                         of 44
    1 !  !  , 


           held a reception at his Silicon Valley home for Secretary of State Mike Pompeo in                               Account For Pointing Users To Leaked Documents
                                                                                                                           Obtained By A Hacking Collective (June 2020) (2)
           January.
                                                                                                                    13:30 Techdirt Podcast Episode 255: Threatcasting The
           Ms. Catz’s relationship to Mr. Trump could give Oracle a leg up in getting the deal                            Election (0)
           approved, according to people in contact with the White House. Oracle has worked for                     12:03 That's A Wrap: Techdirt Greenhouse Content
           decades with the U.S. government, including multiple contracts with the national-                              Moderation Edition (1)
           security establishment.                                                                                  10:50 Court Refuses To Block Trump Exec Order On
                                                                                                                          TikTok As Requested By TikTok Employee After
                                                                                                                          DOJ Says He Can Still Get Paid (2)
   Once again, this was nothing but performative nonsense from the President that ends in his own supporters
                                                                                                                    10:45 Daily Deal: Interactive Learn to Code Bundle (0)
   lining their pockets. None of it seems to have anything to do with actual national security. It's a joke.
                                                                                                                    09:43 The TikTok Oracle Grift: Insiders Admit They Went
                                                                                                                          Hunting For A Tech Company The President Liked
                                                                                                                          (8)

       Thank you for reading this Techdirt post. With so many things competing for everyone’s                       06:26 Josh Hawley Isn't 'Helping' When It Comes To
                                                                                                                          TikTok (20)
       attention these days, we really appreciate you giving us your time. We work hard every day
                                                                                                                    03:27 Copyright Companies Want Memes That Are Legal
       to put quality content out there for our community.                                                                In The EU Blocked Because They Now Admit
                                                                                                                          Upload Filters Are 'Practically Unworkable' (30)
       Techdirt is one of the few remaining truly independent media outlets. We do not have a giant
       corporation behind us, and we rely heavily on our community to support us, in an age when                    Tuesday
                                                                                                                    19:31 How Not To Be A School District Superintendent:
       advertisers are increasingly uninterested in sponsoring small, independent sites — especially                      The Elmhurst, IL Edition (27)
       a site like ours that is unwilling to pull punches in its reporting and analysis.
                                                                                                                    More
       While other websites have resorted to paywalls, registration requirements, and increasingly
       annoying/intrusive advertising, we have always kept Techdirt open and available to anyone.
       But in order to continue doing so, we need your support. We offer a variety of ways for
       our readers to support us, from direct donations to special subscriptions and cool
       merchandise — and every little bit helps. Thank you.

                                                                                 –The Techdirt Team



     Filed Under: china, corruption, donald trump, doug leone, grift, larry ellison, safra catz
     Companies: bytedance, microsoft, oracle, sequoia, tiktok, walmart


   8 Comments | Leave a Comment




   If you liked this post, you may also be interested in...

       Court Refuses To Block Trump Exec Order On TikTok As Requested By TikTok Employee After DOJ Says He Can
       Still Get Paid
       Josh Hawley Isn't 'Helping' When It Comes To TikTok
       Oracle Doesn't Buy TikTok, But Gets A Lucrative Hosting Deal, And Trump & Friends Will Pretend This Means
       Something
       If We're So Worried About TikTok, Why Aren't We Just As Worried About AdTech And Location Data Sales?
       White House Supposedly Blocked Walmart From Buying Tiktok Because It Would Prove Its Rationale For Forcing
       A Deal Was Bullshit



1++     //++$"$""*#'+#)$%#'&'%#%+-0---!- ---!--/                        $&
         Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 9 )*%%*%#-'0'#
""   +                            of 44

    Discover Thomson Reuters                                                                Directory of sites     Login   Contact   Support



                                              World            Business       Markets   Breakingviews            Video     More




                         NON-CYCLIC AL           SEPTEMBER 20, 2020 /
                         CONSUMER                9:19 PM / UPDATED A
                         GOODS
                                                 DAY AGO




                         ByteDance says
                         TikTok Global
                         plans public
                         offering
                         By
                         Reuters           2 MIN READ
                         Staﬀ



                         Sept 21 (Reuters) - China’s
                         ByteDance said on Monday
                         that TikTok Global will

/**!!!. .** ,,,",     )%(##                                                            $)
        Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 10)*%%*%#-'0'#
""   +                            of 44

                                                                            ADVERTISEMENT
                         launch a public oﬀering of
                         shares to enhance the
                         corporate governance
                         structure and transparency
                         for the firm that will control
                         the video platform’s U.S.
                         operations.


                         ByteDance said in a
                         statement TikTok Global will
                         also conduct a pre-IPO
                         round that will leave
                         ByteDance with an 80% stake
                         in the firm. The firm said
                         TikTok Global’s board of
                         directors includes ByteDance
                         founder Zhang Yiming as
                         well as Walmart’s chief
                         executive and current
                         directors of ByteDance.


                         The current plan for TikTok
                         Global does not involve any
                         transfer of algorithms or
                         technologies and Oracle
                         Corp has security access to
                         TikTok U.S.’s source code,

/**!!!. .** ,,,",   )%(##                     %)
        Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 11)*%%*%#-'0'#
""   +                            of 44


                         ByteDance said.


                         ByteDance also said a $5
                         billion payment reportedly to
                         be made to the U.S. Treasury
                         by TikTok Global is based on
                         estimated income and other
                         taxes the company will need
                         to pay over the next few
                         years and has nothing to do
                         with the deal reached with
                         Oracle and Walmart.
                         (Reporting by Roxanne Liu
                                                                            TRENDING STORIES
                         and Se Young Lee; Editing by
                         Muralikumar                                        China air force video appears to
                         Anantharaman)                                      show simulated attack on U.S.
                                                                            base on Guam


                         Our Standards: The Thomson Reuters                 Potential Trump Supreme Court
                         Trust Principles.                                  pick Lagoa is fast-rising Cuban-
                                                                            American judicial star
                         MORE FROM REUTERS

                                                                            Reuters/Ipsos poll shows Biden
                                                                            ahead in Wisconsin, a close race in
                                                                            Pennsylvania


                                                                            Musk sees no immediate boost
                                                                            from 'Battery Day' tech unveil



                                                                            Wall Street ends lower on
                                                                            lockdown fears, likely delay of
                                                                            stimulus

/**!!!. .** ,,,",   )%(##                                         &)
        Case 1:25-cv-23147-DPG Document 1-5 
                                               Entered   on FLSD
  %+#0 . ++   
                                                 (#  +  Docket 07/15/2025 Page 12&'of'44
                                                                                                    *$/##




  LOCAL NEWS



  Walmart to acquire 7.5% stake in
  TikTok; new U.S. public company to
  be formed
  Walmart said Saturday (Sept. 19) it continues to work on the final
  agreements to purchase a 7.5% stake in video-sharing platform TikTok
  Global.




                                                                                    Gut Doctor "I Beg Americans To
                                                                                    Throw Out This Vegetable Now"

  Author: Talk Business & Politics
  Published: 1:02 PM CDT September 20, 2020
  Updated: 1:02 PM CDT September 20, 2020




  BENTONVILLE, Ark. — Walmart said Saturday (Sept. 19) it continues to work on the final


-''+#  + '  ' ' '))  , ) ))   )    '# %)" ! & )   &")"! !)&% ") &  #        !
        Case 1:25-cv-23147-DPG Document 1-5 
                                               Entered   on FLSD
  %+#0 . ++   
                                                 (#  +  Docket 07/15/2025 Page 13&'of'44
                                                                                                    *$/##


  agreements to purchase a 7.5% stake in video-sharing platform TikTok Global as well as enter
  into commercial agreements to provide Walmart e-commerce, fulfillment, payments and other
  omnichannel services to TikTok.

  The news comes as President Donald Trump announced Saturday that ByteDance, TikTok’s
  Chinese parent company, has received tentative approval for an agreement with the U.S.
  government to resolve outstanding issues, which will now include Oracle and Walmart together
  investing to acquire 20% of the newly-formed TikTok Global business.




  As a part of the deal, TikTok is creating a new company called TikTok Global that will be
  responsible for providing all TikTok services to users in the United States and most of the users
  in the rest of the world. The Trump administration conditionally approved the landmark deal
  where Oracle will become TikTok’s secure cloud provider.

  To read more about this story please visit our content partner, Talk Business & Politics.


                                    




        Related Articles


          Arkansas refuge rescuing mistreated cats from Indiana zoo


          Gearhead Outfitters opens Experience Center in downtown Bentonville




                                                                             Sponsored Links by Taboola
          You May Like
        Man Who Predicted 2020 Crash
        Issues Next Major Warning
        The Legacy Report



        The Dead Giveaway That Tells You
        When Amazon’s Giving You A Better
        Price Than Other Retailers


-''+#  + '  ' ' '))  , ) ))    )      '# %)" ! & )   &")"! !)&% ") &  #         !
           Case  1:25-cv-23147-DPG
                                       Document
                                  1-5'
                                                               Entered
                                                                               on
                                                                                      FLSD
                                                                                              Docket 07/15/2025 Page 14%&&(,
                                                                                                                          of 44 "




 BENCHMARKS CLOSED                            NSE LOSER-LARGE CAP                                        FEATURED FUNDS                 5Y RETURN
                                                                                                                                                                   MARKET WATCH
 Sensex 38,845.82       -134.03               Tata Comm 849.25         -40.10                            ICICI Prudential Bluechip…       9%   INVEST NOW




                                                                                                                                                               Subscribe | Sign In

                                                                                  English Edition      | E-Paper



       Home News Podcast Economy                        Industry Politics and Nation Defence                  Company         International Elections       More

Business | World News

  Business News › News › International › Business › Donald Trump celebrates TikTok deal that falls short of his key demands




                      '&$I*-%(I$*,+I!#'#I$I, ,I$$+
                                + '*,I'I !+I#1I%&+

   Synopsis
   Trump said he wanted the U.S. part of the business owned by an American company.
   But China’s ByteDance Ltd. remains the majority shareholder in a new U.S. company
   that will include fresh investments by Oracle Corp. and Walmart Inc. in a future
   fundraising round.


                                                 Agencies
                                                                                             


                                                                I  I.!'C+ *!&I((I/+
                                                               $*1I-&*I??I+*-,!&1I/ &I-+*+
                                                               (*&#I*+!&,I  G+
                                                               %(!&I1I(*,&!&I,'I*+*.
                                                               , '-+&+I'I,!#,+I,'II -&I*C
Trump said he wanted the data to stay in
                                                               $,!'&I*$$1I!&I#$ '%?I
American hands. But the algorithm itself -- the
thing that makes TikTok TikTok -- will still belong
to ByteDance                                                   '*I*-%(I%!&!+,*,!'&I *$!&*+
                                    / 'I/&,II,'- *I+,&I,'/*
!"!&I&I.!/I, I !&+C'/&I((I+II&,!'&$I+-*!,1I, *,@I!,
/+I, I(*,I%'%&,I,'I('-&?I I(*+!&,@I-*!'-+I'.*I, I'.!C6>
(&%!I&I%**++I1I%(,1I+,+I,I !+I%(!&I.&,@I'$!?I


  !&#!&I!#'#I,'I!"!&G+I &$!&I'I, I*!&I'*'&.!*-+I'-,*#@

+&&     )  ) & & & & *'                     '' '' '' '       &  &#$")               
           Case  1:25-cv-23147-DPG
                                       Document
                                  1-5'
                                                               Entered
                                                                               on
                                                                                      FLSD
                                                                                              Docket 07/15/2025 Page 15%&&(,
                                                                                                                          of 44 "

*-%(I!&I -$1I, *,&I,'I&I, I((I-+I1I655I%!$$!'&I%*!&+
-&$++I !&I &I'.*I'&,*'$I'I, I'%(&1@I!,+I$'*!, %+I&I,I,'
, I??I*#&!&I#I,'I !+I/I'*#I*$I+,,I1+@I I$+'I!&+!+,I, 
??I'.*&%&,I,I'%(&+,I!&I, I(*'++?I


 I$I*-%(I+!&I'3I'&I,-*1@I '-*+I'*II(,?I75I$!&@I'+
$%'+,I&'&I'I, ,?I


*-%(I+!I I/&,I, I??I(*,I'I, I-+!&++I'/&I1I&I%*!&
'%(&1?I-,I !&G+I  ?I*%!&+I, I%"'*!,1I+ * '$*I!&I
&/I??I'%(&1I, ,I/!$$I!&$-I*+ I!&.+,%&,+I1I I'*(?I&
 I &?I!&II-,-*I-&*!+!&I*'-&?I


*-%(I+!I I/&,I, I,I,'I+,1I!&I%*!&I &+@I'*I&,!'&$
+-*!,1I*+'&+?I-,I, I$'*!, %I!,+$ICCI, I, !&I, ,I%#+I!#'#I!#'#
CCI/!$$I+,!$$I$'&I,'I1,&@I+'I&,!'&$I+-*!,1I'&*&+I*%!&@I0(*,+
+!?I


&I, I'.*&%&,I(1'-,BI ,I,-*&I!&,'II.-$1I/'*I(*'%!+I'IJ:
!$$!'&I!&I&/I,0I'$$*+I,'I, I??I*+-*1?I I'%(&1I$+'I+!I!,I/'-$
*,II&/IE-,!'&I!&!,!,!.FI,'I, I#!+I*!&I&I%, I'&$!&?I,!$$@
*-%(I+!I I/+I+,!+4?I

                                                                                                                IN THE SPOTLIGHT
E 1G*I'!&I,'II+,,!&I-(II.*1I$*I-&@FI*-%(I+!I,-*1?IE ,G+                                     
, !*I'&,*!-,!'&I, ,I G.I&I+#!&I'*?FI                                                                     



 I(*+!&,I!I,II(*,!$I.!,'*1?II+!I, I&/I'%(&1I/!$$I .I
0+I )-*,*+I&I(*'%!+I,'I !*I7:@555I%*!&+@I$, '- I&'                                          RELATED        MOST READ       |   MOST SHARED
*#'/&I'*I,!%$!&I'*I, I !*!&I/+I(*'.!?I I'*I/!$$I
%*!&C*-&?I '+,I!%('*,&,$1@I, I%'.I/*(+I-(II*!+!+I+!0I/#+I'*                                    !#'#I!+I+!I,'I/*+,$I/!, I,/'I'%(,!&I'3*+

, I??I$,!'&@I'&$-!&I'&I'I, I%'*I0,*'*!&*1I(!+'+I!&I                                      '- I*'I'*I!#'#I$'&+

(*+!&1I, ,I +I&I4$$I/!, I, %?I                                                                     /!,,*@I!#'#I!&I,$#+I'*I('++!$I%**AI('*,

                                                                                                                 !*'+',I!+I+!I,'II!&I,$#+I,'I-1I!#'#I!&I

E ,G+II*,I$I'*I%*!@FI*-%(I+!I,-*1?IE ,G$$III*&I&/                                    !#'#I,'I'.*&%&,AI1I,'I+,'*I,I$'$$1

'%(&1@I!,I/!$$I .I&', !&I,'I'I/!, I&1I'-,+!I$&@I&1I'-,+!                                         *-%(I,'-,+IH&,+,!HI!#'#I$I/!, I$%*,
                                                                                                               &I*$
'-&,*1@I!,I/!$$I .I&', !&I,'I'I/!, I !&@I!,G$$II,',$$1I+-*@I, ,G$$I
(*,I'I, I$?FI


,,%&,+I$!#I, '+I*I-+!&I+#(,!+I,'I+1I*-%(I+!&$I'-,I!#'#I'*


+&&     )  ) & & & & *'   '' '' '' '    &  &#$")                   
           Case  1:25-cv-23147-DPG
                                       Document
                                  1-5'
                                                               Entered
                                                                               on
                                                                                      FLSD
                                                                                              Docket 07/15/2025 Page 16%&&(,
                                                                                                                          of 44 "

('$!,!$I*+'&+ICCI!, *I-+I'II(*(,!'&I!,+I-+*+I!+$!#I !%@I'*I,'
$-'&I !&ICCI&I, ,I I,''#I&I*%&,I, ,I%,I/I'I !+I,*%+I'*
, I+%I*+'&?I 1II, ,I, I(*+!&,G+I!*,I!&.'$.%&,I&I !+
(,&I'II$I*'#*I1II#1I$$1ICCI*$I'-&*I **1I$$!+'&ICC
*#+I'I('$!,!$I!&,**&?I
                                                                                                                                   
E I'.*&%&,I+ '-$II!&I, I-+!&++I'I!,!&I&,!'&$I+-*!,1                                                           !
'&*&+I-,I, 1I+ '-$&G,II!&I, I-+!&++I'I*'#*!&II#C*''%I$                                                  

/!, II??I'%(&1@FI+!I*!I ! ,%&@II(*'++'*I'I!!,$I%!I&
%*#,!&I,I*&!I $$'&I&!.*+!,1?IE'-I .I,'I+#I1'-*+$ICCI/ 1                                     Top Trending News
!&G,I, 1I'I, *'- I, I(*'(*I+,(+BFI                                                                      Apple India      Latest News LIVE

                                                                                                                Donald Trump        PM Modi Speech Highlights

'*I&,!'&$I+-*!,1I /#+@II#1I!++-I$$I$'&I/+I !&+I'&,*'$I'                                       Economy News         Defence News

%*!&I-+*+GI,?I*!,!'&$$1@I??C.$'(I+',/*I&I((+I/*                                      Morning News        Breaking News

0('*,I*'ICCI, !&#I''#I'*I/!,,*?I!#'#I/+I, I4*+,I !&+I((                                   Chennai News        Delhi News       Mumbai News

,'I*'#,I,'I+- I('(-$*!,1I!&I, I??@I!.!&I!"!&II &I,'I(*'",I,                                 Bangalore News        Kolkata News       Latest News

+'*,I'IE+',I('/*FI*'I, ,I!,I$'&I*.?I                                                               News Headlines




'*I*-%(@I!,I/+I%'*I(*+'&$@I'*!&I,'II(*+'&I%!$!*I/!, I, 
%,,*?I I !,I'-+I/+I-*!'-+I, ,I!#'#I-+*+I%1I .I&'-*
('($I,'I*)-+,I-,I&.*I-+I,!#,+I,'I, I -&I75I*$$1I!&I-$+@I#$ '%?
 I*$$1I/+I!$$I+I*-%(G+I4*+,I!I.&,I,*I%'&, +I+ $,*!&I*'%I, 
'*'&.!*-+@I&I, I%(!&I0(,I,&+I'I, '-+&+I'I('($I,'I+ '/
-(?I &I, I&@I'-,I;@555I('($I,-*&I'-,I&I*-%(I/+I*,I1I*'/+                                                    
'I%(,1I+,+?I                                                                                                    
                                                                                                                   !  !
                                                                                                                                                 

,I, I+%I,!%@II+-*!,1I*.!/I'I, I((I/+I-&*/1?I I+*-,!&1
+,%%I*'%I1,&G+I756<I)-!+!,!'&I'I -+!$?$1@II$!(C+1& !&I((
                                                                                                              Not to be Missed
+I!&I !&I-,I/ '+I%"'*!,1I'I-+*+I/*I!&I, I??I ,I/+I'$I!&,'
                                                                                                              !#'#I$I$$+I+ '*,I'I*-%(H+
!#'#?I1,&I!&G,I*('*,I, I$I,'I, I'%%!,,I'&I'*!&                                          %&+
 &.+,%&,I!&I, I??I'*I((*'.$@I-,I,/'I1*+I$,*I, I(&$I'&,,
1,&?I                                                                                                    !/&!I-!$!&I'$$(+AI! ,I



 I!++-I+!%%*I!&,'I7575I+I,&+!'&+I,/&I+ !&,'&I&I!"!&
                                                                                                              'I'**'/!&@I&'II(1'-,I,!$$I7577
+'*I&I, I'.!C6>I(&%!I!&!,!$$1I!+%!++I1I*-%(I&I#!$$!&
,&+I'I, '-+&+I'I%*!&+?I4-+I'(&II'*%$I!&.+,!,!'&I!&,'I, 
)-!+!,!'&I!&I -&?I                                                                                         I++I=?9:I$# I&/I&*'$%&,+I!&
                                                                                                               -$1

 I4-+I(*'I/+I!&I#(!&I/!, I%- I+,*!,*I!&.+,!,!'&+I!&+,
                                                                                                              &!G+I.!&I(!($!&I'&I'I/'*$H+I$*+,B


+&&     )  ) & & & & *'   '' '' '' '    &  &#$")                     
           Case  1:25-cv-23147-DPG
                                       Document
                                  1-5'
                                                               Entered
                                                                               on
                                                                                      FLSD
                                                                                              Docket 07/15/2025 Page 17%&&(,
                                                                                                                          of 44 "

 !&I-&*I*-%(?II(*.!'-+$1I$'#I, *I)-!+!,!'&+I1I !&+
!&.+,'*+@I, I%'+,I'I&1I(*+!&,@I/ !$I&-%*'-+I', *I$+I .
'$$(+I,*I, I'%%!,,I*!+I&,!'&$I+-*!,1I$*%+?I                                                AI$ !I,+I-&"I!&I-(*I.*


 ,I/+I/'**!+I'-,I(*+'&$I,@I'*I!&+,&@I, ,I(*'%(,I4-+I$+,I1*
,'I'*I, I !&+I'/&*I'I, I1C,!&I((I*!&*I,'I+$$I, I-+!&++?I                                $$I'(,!'&+I'(&I!&I''$I4 ,AI1,%
                                                                                                              


!, II(,?I75I$!&I*-%(I+,I'*II$I$''%!&@I*+-*1I*,*1                                     *1I!&(&&,I!*,'*+I*!&&
,.&I &- !&I',I,'I/'*#?I1I$+,I/#@II*+'$-,!'&I((*I,'I .I&                                  ++,+

'-&?I*+-*1I+&,II,*%I+ ,I,'I1,&I, ,I$!I'-,I, I'&!,!'&+
/ ! I/*I.&,-$$1I((*'.AI'-*I'-,I'I4.I('($I'&I, I'*I/'-$I                                  $$I&/I%+-&I*!IIAII-&!)-
                                                                                                              '%!&,!'&I'II&I( '&
%*!&@I!&$-!&II*(*+&,,!.I*'%I$%*,@I$'&I/!, II&,!'&$C
+-*!,1I'%%!,,I$I1I&I%*!&I/!, I1*C+-*!,1I*&,!$+I,'
                                                                                                               '/*I,0+I'*I-,'I'+AI &! !
'.*+I&1I!++-+I, ,I*!+?I                                                                               1-#/



 &I!,!'&@I, I+!+I*I, ,I, I&/I'%(&1ICCI/ ! I &- !&I-                                    '.!I*'/+I$++I$1I+I'+I!&
                                                                                                              (*,!
!#'#I$'$ICCI/'-$I4$I'*I&I!&!,!$I(-$!I'3*!&I&0,I1*?I 
'%(&1I/!$$I+#II.$-,!'&I'IJ;5I!$$!'&@I'*!&I,'II(*+'&I%!$!*
                                                                                                              '.,I$''#+I,'I+/,&I!*I &!I+$
/!, I, I%,,*?I                                                                                             $



 ,I+%I,'I(*+-I, I%'+,I+!&!4&,I(*,!!(&,+I'&I, I4-+                                          '.!AI!&!&II-*I!+I, I&/
                                                                                                              $ %1
0-,!.I'%%!,,?I &- !&I&I'%%*I*,*1I!$-*I'++I/*
$/1+I'&I'*?I-,I.&I*,*1I'I,,I ! $I'%('@I/ 'I I$'&
                                                                                                                $$+I&,!!(,I ! I%&I, !+
/*&I'-,I, I&*+I'I !&I0($'!,!&I??I-+*I,@I+I !+I'/&                                    !/$!
'(('+!,!'&?I.*$I(-$!&I+&,'*+I/ 'I I$+'I0(*++I*$1
    SECTIONS
Bloomberg        Donald Trump
           Last Updated: Sep 21, celebrates
                                 2020, 07:59TikTok
                                             AM ISTdeal that falls short of his key demands
'(('+!,!'&I%I*'-&?I                                                                                      1,%I*'/AI''$I!+((*'.+I'&$!&
                                                                                                                       SHARE     FONT SIZE SAVE   PRINT        COMMENT

                                                                                                              +!&'+

-+,!'&$I%, I!+I!&I$&I'&I,'I,I*'-&I*-%(G+I%&I, ,I??
                                                                                                              H$$I'&,!&-I,'I!&.+,I!&I &!AI
!&.+,'*+I .I%"'*!,1I'&,*'$I'I, I'%(&1?I1,&I/!$$I*,!&I&I=5K                                  &!
+,#I!&I, I&/I'%(&1?I-,I-+I0!+,!&I??I!&.+,'*+I '$II95K
+,#I!&I1,&@I'-&,!&I, I&/I!&.+,%&,+I1I*$I&I$%*,I+                                      *H+II$-$$I!&I, I-++!I.!&
                                                                                                              3!*
/$$I+I', *I%!&'*!,1I%*!&I+ * '$*+@I, I*-%(I%!&!+,*,!'&
$!%I, *I!+I:8KI'/&*+ !(I1I, I??I
                                                                                                              I"-I $,+I&I'&I ,
                                                                                                              '/&$'+
 &I, *I*I, I$*I('$!,!$I'.*,'&+I++'!,I/!, I, I&/I!&.+,'*+?
*$II*I,2I/+I'&I*-%(G+I,*&+!,!'&I,%I&I/+I'&+!*I                                      I$''#+I,'I+'*,I'-,IC I%,,*I'*
('++!$I&!,I'*I,'(I"'+I!&$-!&I&,!'&$I+-*!,1I.!+*I&I'*$                                 

&#I(*+!&,?I'%(&1I'-&*I$$!+'&I '+,II-&*!+*I'*I*-%(I&
                                                                                                              '.!I&I $(I &!@I (&I+,*&, &
%,I/!, I'%('I$'&I/!, I', *I, I,!,&+I!&I &-*1?I
                                                                                                              ,!+


+&&     )  ) & & & & *'   '' '' '' '    &  &#$")                      
           Case  1:25-cv-23147-DPG
                                       Document
                                  1-5'
                                                               Entered
                                                                               on
                                                                                      FLSD
                                                                                              Docket 07/15/2025 Page 18%&&(,
                                                                                                                          of 44 "


                                                                                                              $,*'&!+I'+I '(-$I, !+I+,!.
                                                                                                ++'&
 ,G+I&',I"-+,I*$AI)-'!I(!,$@II%"'*I!&.+,'*I!&I1,&I/ 'I $(
*'#*I, I!#'#I$@I/!$$I$+'I*,!&I!,+I+,#I!&I, I !&+I'%(&1?                                    !+,*II +$!I &I+1+I&'I$1'3+

)-'!I%&!&I(*,&*I'-I '&I'&,IJ:5@555I$+,I1*I,'I*-%(
!,'*1@I/ ! I+($!,+I'&,*!-,!'&+I,/&I, I%(!&I&I, I(-$!&
                                                                                                              % I0(,+I &!I+$+I,'II65C1*
,!'&$I'%%!,,?II$+'I.I, I+%I%'-&,I, ,I1*I,'I%*!I!*+,                                   $'/
,!'&@II+-(*CI, ,I+-(('*,+I*-%(@I$, '- II(*+'&I%!$!*I+!
 '&I'+&G,I .II(*+'&$I*$,!'&+ !(I/!, I, I(*+!&,?I                                               '.,I'$$,+I+I=9@578I*I&'&C,0
                                                                                                              *.&-

E *I*I*+'&+I,'II+#(,!$I'-,I*+!&,I*-%(G+I'/&I%',!.,!'&+I,'
                                                                                                              -+I'I'%+,!I!*$!&+I,'I I(!$I-(
&I, I((@I!.&I, I(*.*+I('$!,!$I!&&,!.+I!&I($1@FI+!I$+I &!@I&
"-&,I+&!'*I$$'/I,I, I&,*I'*II/I%*!&I-*!,1?IE!3*&,
*,!'&$+I&I%',!.,!'&+I/!, I.*1!&I*+I'I*!!$!,1I((*I,'I'%                                  &!I &H+I-+!&++I+&,!%&,I*'.*+
                                                                                                              !&I8
!&,'I($1?FI

                                                                                                              ''#I&-,*$@I&'&C(*,!+&AI &!
3!!$+I,I)-'!I$!&I,'I'%%&,?I3!!$+I,I*$I!&G,                                             !
!%%!,$1I*+('&I,'II*)-+,I'*I'%%&,I'&I/ , *I('$!,!$I,'*+
.I, %I&II!&I,,!&I, I$I((*'.?I !,I'-+I'3!!$+I!&G,                                   !+,*I++IH+,1I*,-*&I!&I%&HA
!%%!,$1I*+('&I,'II*)-+,I'*I'%%&,I'&I, ,I!++-I'*I, I*'$I,                                     

-$+I*$$1I($1I!&I%',!.,!&I*-%(I,'I,?I
                                                                                                              +I*('*,I*-+I/'*, I'.*I+I6>@>;9
                                                                                                              *
-*!,1I0(*,+I+!I, I'*!!&$I+'-*I'I'&*&I'-,I!#'#I+,!$$I +&G,
&I*+'$.@I.&I/!, I*$I&I, I??I'*I .!&I!&+! ,I!&,'I,                                     '&I ','*1$+I,+I'*I
((G+I$'*!, %+I&I,?I                                                                                   *-,!'&



E +I+'-&I$!#I*,I('$!,!$I,$#!&I('!&,+@FI+!I ! $I',+@I !                                 &*,I'.*I>I$# I%&1+I'I/'*#A
                                                                                                              $1+
0-,!.I'3!*I'I$,!,-I,/'*#+I&I'*%*I !I!&'*%,!'&I+-*!,1
'3!*I,I/!,,*?IE I/ '$I&',!'&I, ,I, !+I!+I(*',,!&I&,!'&$I+-*!,1I!+                             .*I+I<5 I*I$'&+I+&,!'&I,'
(*,,1I $$&!&?I *I*I($&,1I'I!&+,&+I/ *I??I'%(&!+I-&$                                 !+'%+

,I&I(-,I&,!'&$I+-*!,1I,I*!+#?I!#!&I, I'I'*!&I'%(&1I, ,
'+I, !+I&I,*,!&I, %I/'&G,I $(?FI                                                                    +I'-$I,I'+,$!*I*'%I,'*I6



DI!, I++!+,&I1I.!I  - $!&@I '+ I!&*'.@I!$$I$$!+'&@I!'
                                                                                                              1,&I+#+IJ;5I&I!#'#
*&,@I&I !2,,I (%&I                                                                                   .$-,!'&


                                        READ MORE NEWS ON                                                     HI+#+I&/I('/*+I,'I(&$!+I,
                                                                                                              !&,+H
                     Bytedance Ltd   Oracle    TikTok    Walmart     Donald Trump


                                                                                                              *!-%( I ','*1$+I1+I-(I,'I75KI*'/,


+&&     )  ) & & & & *'   '' '' '' '    &  &#$")                 ! 
           Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 19)*#(*$",#$/%#
!       - -   .                   of 44




                                                                                                                               AdChoices




                         'Melrose Place' actress    How and why              Rescuers reach people     Nimmo homer in 9th          Halle Be
                         headed back to…            Hollywood is helping …   cut off by Gulf Coast…    rallies Mets past…          Confirm




           ByteDance plans TikTok IPO to win U.S. deal as
                     deadline looms: sources
                                            By David Shepardson, Stephen Nellis and Echo Wang         12 hrs ago




© Reuters/CHINA STRINGER NETWORK FILE PHOTO: Man walks past a sign of ByteDance's app TikTok,
known locally as Douyin, at an expo in Hangzhou


By David Shepardson, Stephen Nellis and Echo Wang

(Reuters) - China's ByteDance is planning a U.S. initial public offering

.**    --*+ *!**! + ++++ ++ + + ++* +#)))'                   #)
           Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 20)*#(*$",#$/%#
!       - -   .                   of 44

successfully negotiates acquiring a stake, its CEO, Doug McMillon,
would get a seat on TikTok Global's board, the source said.

Trump said that his administration talked with Walmart and Oracle on
Thursday but "nothing much has changed" regarding a deal.

He added, without giving details, "I guess Microsoft is still involved."
Microsoft said on Sunday its offer for TikTok was rejected. Microsoft
did not immediately respond to a request for comment on Thursday.

"We'll make a decision soon," Trump said.

An IPO of TikTok would be one of the technology sector's biggest-ever
stock market debuts, given that the app was recently valued by
ByteDance investors at more than $50 billion. It would further reduce
ByteDance's stake in the company to appease U.S. officials who want
to see the Chinese firm loosen its grip on the video app.

The filing of the IPO would be on a U.S. stock exchange and could
come in about a year, the sources said.

There is no certainty over whether Trump will sign off on the
agreement. It was also not immediately clear what assets TikTok Global
would own beyond the app's assets in the United States. ByteDance
has offered to create 25,000 new U.S. jobs with TikTok headquartered
in the United States as it seeks to win Trump's blessing for a deal,
Reuters has reported.

It was also not clear whether ByteDance could present the deal to
China as keeping majority ownership of TikTok. Chinese officials have
said they do not want ByteDance to agree to a forced sale, and the
company's proposal to the White House this week called for it to
retain majority ownership of TikTok.

The board of TikTok Global would include a national security director,
who will be approved by the U.S. and chair a security committee
overseeing the protection of user data, according to a person familiar
with the matter.


.**    --*+ *!**! + ++++ ++ + + ++* +#)))'   %)
           Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 21)*#(*$",#$/%#
!       - -   .                   of 44

The term sheet will grant Oracle the right to inspect TikTok's source
code and includes numerous provisions to ensure data security and
requirement that all U.S. users data remains in the United States
housed by Oracle, the source said.

It is not clear what Oracle or Walmart will pay for a stake. Oracle,
Walmart and Treasury did not immediately comment.

Meadows said on Thursday that the administration is still looking at
details of the deal and whether it meets national security thresholds.
Meadows said if TikTok remains predominantly Chinese-run under the
Oracle deal, that would not meet Trump’s objectives.

CHINA APPROVAL

ByteDance said on Thursday it would need China to approve the
proposed deal with the White House, indicating how its bid to stave
off a ban in the United States could be further complicated.

As many as 40% of Americans back Trump's threat to ban TikTok if it is
not sold to a U.S. buyer, a Reuters/Ipsos national poll found last
month. Among Republicans - Trump's party - 69% said they supported
the order, though only 32% expressed familiarity with the app.

The White House has stepped up efforts to purge what it deems
"untrusted" Chinese apps from U.S. digital networks. Beyond TikTok,
Trump has also issued an order prohibiting transactions with Tencent
Holding Ltd's messenger app WeChat.

Earlier this year, Chinese gaming company Beijing Kunlun Tech Co Ltd
sold gay dating app Grindr, bought in 2016, for $620 million after
CFIUS ordered its divestment.

ByteDance acquired Shanghai-based video app Musical.ly - whose
user base was largely American - for $1 billion in 2017 without seeking
CFIUS approval, relaunching it as TikTok the following year. Reuters
reported last year that CFIUS was investigating TikTok.

(Reporting by David Shepardson in Washington, D.C., Stephen Nellis in

.**    --*+ *!**! + ++++ ++ + + ++* +#)))'   &)
           Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 22)*#(*$",#$/%#
!       - -   .                   of 44


     Ad                                                of TikTok Global, the new
                Get Back To The World With             company that will operate the
                                                       popular short video app, should
                60K Bonus Miles And A $0
                Intro Annual Fee• The United

                                                       its proposed deal be cleared by
                Explorer Card


                7 Mistakes You'll Make When            the U.S. government, people
                Hiring a Financial
                Advisor• smartasset                    familiar with the matter said on
                                                       Thursday.
                Get a 0% Intro APR on
                Purchases and Balance
                                                       ByteDance is racing to clinch an
                Transfers for 15 Months• Citi
                Rewards+℠ Card                         agreement with the White House
                                        what's this?   that will stave off a U.S. ban on
                                                       TikTok that President Donald
Trump has threatened could happen as early as next week.

Trump ordered ByteDance last month to divest TikTok amid U.S.
concerns that the personal data of as many as 100 million Americans
who use the app could be passed on to China's Communist Party
government.

On Wednesday, he reiterated he was opposed to ByteDance retaining
majority ownership of TikTok.

The White House and ByteDance have agreed to a term sheet on some
aspects of a deal, although Trump has not yet approved it, one of the
sources said. Top ByteDance U.S. investors, Oracle Corp and potentially
Walmart Inc would hold at least a 60% stake in TikTok's U.S.
operations, the source said.

White House Chief of Staff Mark Meadows said the situation was still
fluid.

"There's no definite proposal that the president's being asked to
consider or reject at this point," Meadows told reporters.

The new company, dubbed TikTok Global, will have a majority of
American directors, a U.S. chief executive and a security expert on the
board, the source added. Oracle has agreed to eventually own a 20%
stake in the company, according to the source. If Walmart also

.**    --*+ *!**! + ++++ ++ + + ++* +#)))'   $)
         Case 1:25-cv-23147-DPG
                               Document
                & &    '   1-5 Entered on FLSD Docket 07/15/2025 Page 23 #$"$'*!
                                                                                                                  of 44




                                        
TECH                                                                                                             VIRTUAL    JOIN
                                                                                         SUMMIT
Politics surrounding TikTok’s future in
                                                                                                                             US
                                       

the U.S. pollute valid data security
                          MARKETS          BUSINESS             INVESTING            TECH          POLITICS     CNBC TV



concerns, expert says
PUBLISHED THU, SEP 17 2020•2:02 AM EDT


          Saheli Roy Choudhury
          @SAHELIRC
                                                                      SHARE




KEY                   The politics surrounding the future of TikTok’s operations
POINTS                in the United States could undermine the need for better
                      understanding and assurances when it comes to
                      protecting user data, said DarkTrace’s Marcus Fowler.


                      Sources previously told CNBC that TikTok-owner
                      ByteDance chose Oracle to be the video sharing app’s
                      technology partner in the U.S. due to the company’s close
                      ties to the Trump administration and its willingness to
                      accept a deal where it didn’t buy 100% of the assets.


                      It remains unclear if the U.S. government will approve a
                                                                                                             TRENDING NOW
                      restructuring plan that would still keep TikTok’s U.S.
                      business, including the data collected by the app on

 )$$(($$#$"$% %%   % % % % % %  %(                       
         Case 1:25-cv-23147-DPG
                               Document
                & &    '   1-5 Entered on FLSD Docket 07/15/2025 Page 24 #$"$'*!
                                                                                                                  of 44

                      American users, under ByteDance’s control.                                                             A low-profile
                                                                                                                             investor who bet
                                                                                                                             on Snowflake
                      President Donald Trump told reporters on Wednesday he                                  1               eight years ago is
                      was not ready to approve the proposal from ByteDance                                                   up more than $12
                      and said it must be “100% as far as national security is                                               billion
                      concerned.”

                                                                                                                             Here’s when Dr.
                                                                                                                             Fauci gets his flu
                                                                                                                             shot (and why)
                                                                                                             2

                                                                                                                             Dow futures drop
                                                                                                                             more than 200
                                                                                                                             points after Fed
                                                                                                             3               signals no rate
                                                                                                                             hikes until 2023


                                                                                                                             Apple’s iOS 14
                                                                                                                             brings big
                                                                                                                             changes to your
                                                                                                             4               iPhone — here’s
                                                                                                                             how to get it

The download page for ByteDance Ltd.’s TikTok app is arranged for a photograph on a
smartphone in Sydney, New South Wales, Australia, on Monday, Sept. 14, 2020.                                                 Kardashian West
Brent Lewin | Bloomberg | Getty Images                                                                                       and other celebs
                                                                                                                             to boycott
                                                                                                             5               Instagram for one
                      SINGAPORE — The politics surrounding the future of                                                     day to protest
                                                                                                                             Facebook’s
                      TikTok’s operations in the United States could                                                         ‘failures’
                      undermine the need for better understanding and
                      assurances when it comes to protecting user data, a
                                                                                                                           Sponsored Links by Taboola
                      security expert said Thursday.
                                                                                                             FROM THE WEB


                                                                                                             Tommy Chong: Throw Out
                                                                                                             Your CBD Now
                                                                                                             Tommy Chong’s CBD


                         Stream live CNBC TV from
                         around the world. START FREE TRIAL                                                  “Little-Known Tech” Behind

 )$$(($$#$"$% %%   % % % % % %  %(                                     
         Case 1:25-cv-23147-DPG
                               Document
                & &    '   1-5 Entered on FLSD Docket 07/15/2025 Page 25 #$"$'*!
                                                                                                                  of 44

                                                                                                              Electric Vehicle Boom
                                                                                                              Empire Financial Research
                                                                                                             Invest Like A Pro


                      Beijing-based ByteDance, which owns the popular
                      short video sharing app, rejected Microsoft’s bid to
                      buy TikTok’s U.S. operations and instead chose
                      Oracle to become TikTok’s U.S. technology partner.
                      Sources previously told CNBC that Oracle became
                      ByteDance’s partner of choice due to the company’s
                      close ties to the Trump administration and its
                      willingness to accept a deal where it didn’t buy 100%
                      of the assets.

                      Political leanings of various parties involved in the
                      potential transaction “further pollutes” concerns
                      around data privacy and security, Marcus Fowler,
                      director of strategic threat at cybersecurity firm
                      Darktrace, said on CNBC’s “Squawk Box Asia.”
                      Fowler previously worked for the CIA developing
                      global cyber operations and technical strategies.

                      “I do worry that any political leanings here could
                      pollute the outcome of what we really want which is
                      better understanding and better assurances with
                      regards to data and security,” Fowler said.

                      He explained that there needs to be more concrete,
                      transparent policy for how companies should be
                      handling user data, no matter where they sit or what
                      country they are aligned with.



                                                            Beyond The Valley
                                                            TikTok: From viral app to nation

                                                                                       
 )$$(($$#$"$% %%   % % % % % %  %(                                     
         Case 1:25-cv-23147-DPG
                               Document
                & &    '   1-5 Entered on FLSD Docket 07/15/2025 Page 26 #$"$'*!
                                                                                                                  of 44




                                                                                        
                                                                             00:00 / 13:38




                      It remains unclear if the U.S. government will
                      approve a restructuring plan that would still keep
                      TikTok’s U.S. business, including the data collected
                      by the app on American users, under ByteDance’s
                      control.

                      President Donald Trump told reporters on
                      Wednesday he was not ready to approve a proposal
                      from ByteDance and said it must be “100% as far as
                      national security is concerned.”

                      “Is it if this goes through, well, the rest (of) other
                      countries, other organizations (be) kind of like ‘Oh,
                      this is all I need to do to get my company’s security
                      practices over the bar, is I just need to align from a
                      political standpoint rather than from a baseline of this
                      is what security and security assurance looks like and
                      this is the level of security I need to have in place in
                      order to reach a bar that is acceptable’,” Fowler said.




    VIDEO 07:58

    What is ByteDance?
 )$$(($$#$"$% %%   % % % % % %  %(                   
         Case 1:25-cv-23147-DPG
                               Document
                & &    '   1-5 Entered on FLSD Docket 07/15/2025 Page 27 #$"$'*!
                                                                                                                  of 44

    What is ByteDance?


                      The United States has alleged that data collected by
                      the app on American users could be accessed by the
                      Chinese government and may be used for
                      disinformation campaigns. TikTok has denied those
                      allegations and said U.S. user data is stored in the
                      country itself with a backup kept in Singapore.

                      The White House had imposed a Sept. 20 deadline
                      for ByteDance to come up with a plan to sell the video
                      app’s U.S. operations or be banned by Sept. 29. A deal
                      would have to be done by Nov. 12. But Beijing had
                      pushed back on a tentative sale of U.S. assets, saying
                      it would need to approve a deal that involves
                      exporting the lucrative artificial intelligence
                      technology used by TikTok.

                      Relations between the U.S. and China have
                      deteriorated considerably in recent years due to a
                      trade war and a race to establish dominance in crucial
                      areas of technology including 5G and
                      semiconductors. Washington has targeted Chinese
                      tech companies like Huawei and upped the pressure
                      on the likes of ByteDance and Tencent, making it
                      more difficult for them to operate in the U.S.

                      — CNBC’s Alex Sherman contributed to the report.




MORE FROM CNBC                                                                     FROM THE WEB

                                                                                   “Little-Known Tech” Behind Electric Vehicle
                                                                                   Boom

 )$$(($$#$"$% %%   % % % % % %  %(                    ! 
       Case 1:25-cv-23147-DPG
                        &    Document
       &               1-5 Entered on FLSD Docket 07/15/2025 Page 28 $%"%'#*$
                                                                                                 of 44


                                 https://nyti.ms/2RF3Wr3




Backlash Grows to TikTok-Oracle Deal
Senate Republicans and others criticized the latest plan to allow TikTok to continue operating
in the United States, citing national security concerns.

By Ana Swanson, David McCabe and Lauren Hirsch

Sept. 16, 2020, 6:52 p.m. ET


WASHINGTON — Even as negotiations continued on Wednesday over a proposal that would
allow the Chinese-owned social media app TikTok to continue operating in the United States, a
backlash was forming in Washington to the deal.

Over the weekend, TikTok had offered a proposal to the Treasury Department that aimed to
address the Trump administration’s concerns that the app could give the Chinese government
access to sensitive data. The proposal included bringing on Oracle, the Silicon Valley business
software company, as a technology partner to TikTok. But Oracle would not own TikTok outright
and the app would not transfer ownership of its valuable recommendation algorithm to Oracle.

That proposal is now under review by a secretive, multi-agency national security panel, the
Committee on Foreign Investment in the United States, which is expected to submit its
recommendation to President Trump for a final decision on Thursday.

But while the proposal winds its way through the review process, some lawmakers are
increasingly up in arms about it. In a letter on Wednesday, Republican senators including Marco
Rubio of Florida, Thom Tillis of North Carolina and John Cornyn of Texas criticized the proposal,
saying that any deal that left a Chinese company — in this case, TikTok’s parent company,
ByteDance — in control of the code or algorithms that run the app would fail to address national
security concerns.




)%%( ( %%$%"%   %&    &(                             !
       Case 1:25-cv-23147-DPG
                        &    Document
       &               1-5 Entered on FLSD Docket 07/15/2025 Page 29 $%"%'#*$
                                                                                                 of 44

In their letter, the Senate Republicans said the prospective arrangement with Oracle raised
“significant concerns,” arguing that a partial sale or “trusted partnership deal” would be
“insufficient in achieving the goals of protecting Americans and U.S. interests.”

The letter was just the latest sign of discontent about the Oracle-related proposal for TikTok. On
Monday, Senator Josh Hawley of Missouri, a Republican, said in a separate letter that the Trump
administration should reject the proposal. He said that “perhaps, given constraints imposed by
Chinese law, the only feasible way to maintain Americans’ security is to effectively ban the
TikTok app in the United States altogether.”

The congressional objections raise the question of whether Mr. Trump could face criticism for the
Oracle-TikTok proposal on the campaign trail. Mr. Trump, who had made positive comments
about a deal on Tuesday, appeared to be aware of the growing debate.

“I’m not prepared to sign off on anything. I have to see the deal,” he said at a news conference on
Wednesday. “They’re going to be reporting to me tomorrow morning.” He added that he was “not
going to be happy” if TikTok remained largely owned by a Chinese company.

A day earlier, when asked about his thinking on an Oracle partnership with TikTok, Mr. Trump
had said he would be making a decision “soon.” He added that he had “high respect” for Larry
Ellison, Oracle’s founder.

“He’s somebody I know,” Mr. Trump said. “He’s been, really, a terrific guy for a long time. So we’re
going to take a look.”

The backlash from lawmakers adds another twist to the drama over TikTok, which is hugely
popular among teenagers and influencers and has seeped into popular culture. The app has been
under scrutiny by the Trump administration for national security concerns for months, with
critics saying it could provide a conduit for the Chinese government to gather data on American
citizens. Chinese law requires that Chinese citizens share data with their government if asked.

Last month, Mr. Trump issued an executive order saying that TikTok essentially had to strike a
deal to divest its U.S. operations by Sept. 20, or else halt commercial transactions in the United
States. That set off a race among multiple bidders, as well as various plans to restructure
TikTok’s ownership and address the app’s data security. The Chinese government also weighed in
with new regulations that would have allowed it to block an outright sale of TikTok.



)%%( ( %%$%"%   %&    &(                             !
       Case 1:25-cv-23147-DPG
                        &    Document
       &               1-5 Entered on FLSD Docket 07/15/2025 Page 30 $%"%'#*$
                                                                                                 of 44

Oracle, TikTok and the Treasury Department did not immediately respond to requests for
comment. A White House spokesman declined to comment.

Some of the scrutiny of the Oracle-TikTok proposal relates to the close ties Oracle appears to have
cultivated with the Trump administration. Mr. Ellison hosted a fund-raiser for Mr. Trump this
year, and the company’s chief executive, Safra Catz, served on the president’s transition team and
has frequently visited the White House.

The actions to get the Oracle-TikTok proposal through government approval have ramped up in
recent days. Some of Mr. Trump’s advisers, including Treasury Secretary Steven Mnuchin and
Commerce Secretary Wilbur Ross, have appeared inclined to accept the kind of deal that
ByteDance has offered, people familiar with their thinking have said.

But the idea has been met with skepticism by more hawkish members of the Trump
administration, including Secretary of State Mike Pompeo, who has been doubtful that this deal
could guarantee that American data would not end up in China, people familiar with his thinking
said.

On Wednesday, Ms. Catz, who has given more than $100,000 to Mr. Trump’s re-election, spoke
with Attorney General William P. Barr about the deal, said two people with knowledge of the
matter, who were not authorized to speak publicly.

The Justice Department did not immediately respond to a request for comment.

Much about the proposal also remains fluid. ByteDance, Oracle and the government are still
discussing how any arrangement would protect TikTok’s user data from China and who exactly
would have corporate control of the service, said the people familiar with the discussions.

To alleviate concerns, one person said, TikTok’s board in the United States would include only
government-approved members, including one independent member with expertise in data
security. Oracle would also be able to review the app’s source code and subsequent updates for
security vulnerabilities, the person said.

Speaking to reporters on Wednesday afternoon, Larry Kudlow, the director of the National
Economic Council, said the administration was in the midst of “a deep review process.”




)%%( ( %%$%"%   %&    &(                              !
       Case 1:25-cv-23147-DPG
                        &    Document
       &               1-5 Entered on FLSD Docket 07/15/2025 Page 31 $%"%'#*$
                                                                                                 of 44

“All that’s being looked at. I don’t want to speak for anybody. It’s a very confidential process, but
security is paramount, with respect to information leaking out to China, and ownership is
important,” Mr. Kudlow said.

Others in Washington expressed concerns about the way the White House had pursued the
company.

Senator Mark Warner, a Democrat of Virginia who is a prominent skeptic of Chinese technology
companies, said in a speech on Wednesday that scrutiny of technology companies that could pose
a risk “must be done honestly.” He said that the “haphazard actions on TikTok fail that test and
will only invite retaliation against American companies.”

Ana Swanson and David McCabe reported from Washington, and Lauren Hirsch from New York. Edward Wong contributed
reporting from Washington.




)%%( ( %%$%"%   %&    &(                                  !!
           Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 32()#')$"+#$.%'
   *                                        of 44




                 Trump Nears Decision on Oracle-TikTok Bid After
                                SPONSORED TOPICS

                 Review                                Ways to Clean      Senior's Car      Master's Degree in    Used Ford Transit
                                 Stair Lift Prices
           Saleha Mohsin, David McLaughlin and Shelly Kitchen
                                                      Banjo Cabinets
                                                              2 hrs ago   Insurance         Cybersecurity         Wagon for Sale
                                                                                                                                              
                                                                                                                              AdChoices


(Bloomberg) -- President Donald Trump is preparing to decide whether to approve Oracle Corp.’s alliance
with the Chinese-owned video app TikTok after security experts examined the companies’ proposal.

A U.S. national security panel reviewed the bid Tuesday afternoon, but didn’t make a recommendation that
the president approve or reject the deal, according to a person familiar with the matter. Speaking to
reporters on the South Lawn of the White House, Trump said his staff are “very close to a deal” and
signaled what could be telling support for Larry Ellison, Oracle’s chairman.

“I have a high respect for Larry Ellison,” he said. “He’s somebody I know, he’s been really a terrific guy for a
long time.”




© Bloomberg Key Speakers At The Oracle OpenWorld 2017 Conference



Larry Ellison

-))      ,,)*) )) ** ***  *!** !) *#(&%                              #(
           Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 33()#')$"+#$.%'
   *                                        of 44

                                            Photographer: David Paul Morris/Bloomberg

                                            The proposal, unveiled in part, doesn’t call for Oracle to buy the
                                            business outright. Instead, the company would invest in a newly
                                            restructured global TikTok, with operations based in the U.S.,
                                            according to people familiar with the proposal. Bytedance would
                                            maintain majority ownership and at least three shareholders in TikTok’s
                                            Chinese parent company -- General Atlantic, Sequoia Capital and
 1 Simple Trick To Cut Your                 Coatue Management -- would take stakes in the new business, said
 Electric Bill By 90% {Its
                                            the people, all of whom asked not to be identified because the terms
 Genius}
                                            aren’t finalized.
      Powervolt            Learn More

                                            Oracle’s proposal lacks the payment to the U.S. government that the
president has insisted be the condition of any deal, according to two people familiar with the plan. Yet the
company will try to use the promise of creating 20,000 new jobs through the popular video app as a way to
win his approval, they said.

Treasury Secretary Steven Mnuchin, who has played a central role in brokering a deal that would shift the
Chinese-owned video app’s U.S. operations over to an American company, leads the Committee on Foreign
Investment in the U.S., or Cfius, and has promised to give Trump the panel’s recommendation this week.

White House adviser Jared Kushner voiced strong support for Oracle’s bid for TikTok during an interview
with CNBC earlier Tuesday, even though the proposal could still fall short of President Donald Trump’s
demands that any deal protect national security and include the payout to the U.S. government.

The U.S. is undertaking a two-track national security review of the TikTok proposal this week and any sale
still requires sign-offs from both the U.S. and China. One is through Cfius, and a separate one is through the
Commerce Department.

While details of the agreement between Oracle and China’s ByteDance Ltd. remain under wraps, Kushner
expressed optimism that it would clear the administration’s key hurdles.

“Hopefully the application qualifies on the merits for what we’re trying to accomplish from a national
security point of view,” Kushner said. “America’s interest in that is really national security -- we want to make
sure that people’s data is protected.”

The deal unveiled Monday by Oracle seeks to address the national-security concerns that Trump raised last
month when he ordered the sale of TikTok’s U.S. business. The administration says that Chinese ownership
of the app poses a risk to American users’ data security and that Beijing could use the service to deliver
disinformation and propaganda to the service’s 100 million active users in the U.S.

Based on what’s been revealed so far about the deal, national security experts say the arrangement doesn’t
satisfy those concerns, which the Trump administration laid out in executive orders and public statements.

“It’s not clear the first goal has been met and the second goal is even more difficult,” said Stewart Baker, a
national security lawyer at Steptoe & Johnson and a former assistant secretary with the Homeland Security


-))    ,,)*) )) ** ***  *!** !) *#(&%         $(
           Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 34()#')$"+#$.%'
   *                                        of 44

Department. “There could still be a lot of negotiating to do.”

The companies haven’t fully addressed Trump’s repeated demand for a payment to the U.S. Government. “I
said the United States has to be compensated, well compensated,” he reiterated earlier this month, a
demand that has confounded security experts who say such a payment would stretch his authority under
U.S. law.

Earlier: Trump Push for TikTok Fee Confounds Washington Security Experts

Even if security officials recommend Trump block the deal, the president has the final say and he can
overrule their recommendation. Trump has until Sept. 20 to make a decision.

The deal, if finalized, would create what Mnuchin called “TikTok Global.” The unit would have its
headquarters in the U.S. and create 20,000 jobs, he said, without offering details.




© Bloomberg Stimulus Talks Near Brink Of Collapse After Rancorous Meeting



Steven Mnuchin

Photographer: Stefani Reynolds/Bloomberg

It’s unclear how a new subsidiary would create that many U.S.-based jobs. TikTok has hundreds of open
jobs listed right now, from content moderation to advertising sales. Snapchat Inc., which operates a social
media app similar to TikTok, employs 3,000. By comparison, Facebook Inc. and Instagram Inc. each have
45,000 workers.

TikTok and the Treasury Department declined to comment. A representative for Oracle didn’t reply to
requests for comment.

For more: All About Cfius, Trump’s Watchdog on China Dealmaking: QuickTake


-))     ,,)*) )) ** ***  *!** !) *#(&%   %(
           Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 35()#')$"+#$.%'
   *                                        of 44

Cfius includes members from the State, Defense, Justice, Commerce, Energy and Homeland Security
departments. The panel assesses deals for national security implications by looking at factors that include:
U.S. business’s contracts and ties with the federal government; as well as whether the deal involves critical
infrastructure, such as transport systems, data networks and other communication systems.

Bytedance has been working with Cfius since October 2019 on addressing the committee’s concerns,
according to a person familiar with the matter, and for months has been trying to separate somewhat from
China, including hiring a new CEO and giving autonomy to U.S. executives for the app’s bug fixes and
product changes. The company had already began moving data and content moderation to the U.S., where
it stores its data with firms like Amazon.com Inc. and Alphabet Inc.’s Google, with backup servers in
Singapore. If Cfius accepts these remedies, it could allow Bytedance to keep control of one of its prized
assets, the person said.

Even if TikTok’s data is stored by Oracle in the U.S., that could could still leave ByteDance with some control
over the computer code behind how the app chooses which videos are shown to users. If TikTok’s
algorithms remain in ByteDance’s hands, security experts say, the code could be manipulated by Beijing to
run information
     Trump Nears campaigns    or deliberately
                 Decision on Oracle-TikTok     showReview
                                           Bid After video to American users, perhaps even to influence the          
U.S. elections.

(Updates with panel not yet making a recommendation)

For more articles like this, please visit us at bloomberg.com

©2020 Bloomberg L.P.

    TOPICS FOR YOU




    Get Advanced Security FREE with the xFi Gateway.                These News Bloopers Weren't Meant To Happen
     Ad    Xfinity                                                   Ad   ItsTheVibe




                                                                   MORE FOR YOU




  Seniors On Medicare Are                        How To Pay Off Your

-))      ,,)*) )) ** ***  *!** !) *#(&%     &(
           Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 36 *+#)+$".#1#)
 -     / / !                              of 44




                                                                                                                     U.S. markets open in 8 hours 13 minutes

S&P Futures                   Dow Futures                     Nasdaq Futures     Russell 2000 Futures            Crude Oil
3,352.00                      27,792.00                       11,122.00          1,533.40                        39.67
-37.50 (-1.11%)               -262.00 (-0.93%)                -146.75 (-1.30%)   -17.30 (-1.12%)                 -0.49 (-1.22%)




    Oracle’s TikTok Bid Leaves Open Some U.S. Security
    Concerns

                                                                                                   TRENDING

                                                                                                   1. Analyst: Neither Trump or Biden care
                                                                                                      about soaring federal debt, deficit


                                                                                                   2. Stock market news live updates: Stock
                                                                                                      futures little changed after Fed signals
                                                                                                        rates on hold until at least 2023


                                                                                                   3. Powell pushes on 'very strong, very
                                                                                                      powerful' guidance on interest rates

                                                                                                        Data: Disney+ scored big financial
                                                                                                   4. windfall with 'Mulan' streaming release

                                                                                                   5. Newark  Mayor: ‘Praying’ for a quick
                                                                                                      stimulus boost as businesses falter,
                                                                                                        coronavirus rescue talks deadlock
                   Saleha Mohsin, Nick Wadhams and Jennifer Jacobs
                   Wed, September 16, 2020, 6:01 PM EDT




                   (Bloomberg) -- Oracle Corp.’s bid for TikTok falls short of
                   resolving concerns of Trump administration officials that the
                   Chinese-owned video-sharing app poses a risk to U.S.
                   national security, according to people familiar with the
                   matter.



0++ /! /+ + ,, , ,,#*&'%#(%'/                                                                      ###
        Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 37 *+#)+$".#1#)
 -     / / !                           of 44

                   President Donald Trump has the authority to sign off on a
                   deal, but continuing concerns from national security officials
                   might sway his decision. The agreement remains on the
                   table, with discussions continuing between administration
                   officials and the companies, said the people, who asked not
                   to be named because the talks are confidential.

                   Addressing those remaining issues could clear the way for
                   U.S. approval, the people said. The companies are still
                   working to make their case with the government, according
                   to the people, and think they can still prevail.

                                                  - ADVERTISEMENT -




                   At a press conference on Wednesday evening, Trump said he
                   was not happy about what he was hearing about the bid, but
                   added that he would be briefed on the details Thursday
                   morning. “I’m not prepared to sign off on anything,” he said.

                   He now has four days until a self-imposed Sept. 20 deadline
                   to decide whether to approve a proposal by TikTok’s Chinese
                   parent ByteDance Ltd. to restructure the video app’s global
                   operations as a new standalone company that would give
                   Oracle and other American investors a minority stake.

                   The officials, including Secretary of State Michael Pompeo,
                   are concerned that after a potential transaction, ByteDance
                   Ltd. could still have have access to user data from its nearly
                   100 million users in America, said the people. The officials
                   remain wary about the proposed new ownership structure
                   and how much influence that would give China over the
                   company.


0++ /! /+ + ,, , ,,#*&'%#(%'/                       $##
        Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 38 *+#)+$".#1#)
 -     / / !                           of 44

                   Terms of the proposed deal would give Oracle full access to
                   TikTok’s source code and updates to make sure there are no
                   back doors used by the company’s Chinese parent to access
                   data on the video-sharing app’s 100 million American users,
                   according to people familiar with the matter describing
                   provisions submitted to the U.S. government over the
                   weekend.

                   The terms illuminate what the companies and security
                   officials mean when they call Oracle a “trusted technology
                   partner,” which goes beyond just housing data inside Oracle’s
                   U.S. cloud servers, according to people with knowledge of
                   the terms, who asked not to be identified because they
                   weren’t authorized to speak publicly.

                   Oracle would be able to check all source code from the
                   algorithms that decide which videos get shown to which
                   users to ensure there are no back doors and will be able to
                   continue to review the technology as updates come in to
                   make sure there are no new points of access, the people
                   said.

                   The newly formed TikTok would be headquartered in the U.S.
                   and would hire an independent board approved by the U.S.
                   government. The standalone company would also have
                   oversight by a third party, which would report to the U.S.
                   government and provide continuous audits, reports and
                   protocols for handling any incidents that may arise,
                   according to the people.

                   Treasury Secretary Steven Mnuchin has reviewed the
                   proposed deal, according to some of the people. Attorney
                   General William Barr was only briefed on the deal
                   Wednesday and is reviewing it, according to a Justice
                   Department official who declined further comment. Barr
                   spoke with Oracle executives Wednesday morning, two
                   people familiar with the situation said. Pompeo had a
                   conversation the company officials last week.

                   TikTok has emerged as a top target in Trump’s effort to crack


0++ /! /+ + ,, , ,,#*&'%#(%'/                       %##
        Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 39 *+#)+$".#1#)
 -     / / !                           of 44

                   down on China ahead of the Nov. 3 election. The president is
                   trailing his Democratic opponent Joe Biden in the polls and
                   seeking to use his tough stance with Beijing as a selling point
                   to voters.

                   The Treasury, State and Justice departments are all part of
                   the Committee for Foreign Investments in the U.S., or Cfius,
                   that reviews deals for national security implications. In a
                   meeting Tuesday afternoon, officials raised concerns about a
                   deal that would leave a majority stake of TikTok’s U.S. assets
                   in ByteDance’s hands, with Oracle taking a minority share,
                   the people said.

                   The panel was expected to meet again Wednesday to discuss
                   the potential sale, according to one of the people.

                   White House press secretary Kayleigh McEnany said a
                   decision on TikTok is coming in “short order” during a
                   briefing with reporters.

                   “We care deeply about protecting the data and security of
                   American citizens.”

                   Spokespeople for Treasury and State declined to comment.
                   The Justice Department official didn’t immediately reply to a
                   question about whether the attorney general had spoken to
                   Oracle.

                   TikTok declined to comment.

                   While user data from Americans would be stored by Oracle
                   in the U.S., it appears the rest of the technology
                   underpinning the app, including ownership of the prized
                   algorithms that pick and choose which videos to show users,
                   and the engineering teams in China that work on them,
                   would remain in the hands of TikTok’s Chinese
                   owner.Regardless of where the data is stored, critics of the
                   deal say that national security concerns can’t be resolved as
                   long as Tiktok’s Chinese parent wields financial control of the
                   company.

                   The Oracle agreement is facing sharp pushback in Congress,


0++ /! /+ + ,, , ,,#*&'%#(%'/                       &##
        Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 40 *+#)+$".#1#)
 -     / / !                           of 44

                   where some lawmakers have argued that its terms don’t go
                   nearly far enough to address the reason why Trump
                   demanded the sale in the first place. A letter sent to Trump
                   on Wednesday by Senator Marco Rubio of Florida and five
                   other
                     herr Republicans
                   othe
                   ot     Repu
                          Re publ
                               blic anss said
                                 ican    said the
                                              the deal
                                                   eall in its
                                                  dea      its current
                                                               cur
                                                                urre nt rreported
                                                                  rent    epor
                                                                          ep orte
                                                                               ted
                                                                                 d fo
                                                                                   form
                                                                                      rm
      HOME         “leavesNEWS
                MAIL       significant  unresolved
                                   FINANCE    SPORTS national  security issues.”
                                                          ENTERTAINMENT    LIFE       MORE                 Finance Premium | Try it free



                   In a separate letterSearch
                                         to Mnuchin,    Texas Senator Ted Cruz also
                                              for news, symbols or companies                                Sign in                           Ma

                   said the deal fell far short. Like other opponents, Cruz called
                   for an “outright sale” of Tiktok if necessary. Some have also
                   demanded TikTok turn over the algorithm that helps
                   determine the content seen by users.                                           APPLE STOCK PRICE
                                                                                             1.
                                                                                                  PREDICTION
                                                                                                                                          
                   Opposition like that from the senators is important because
                                                                                             2.   5 STOCKS TO BUY NOW                     
                   many of them have a direct line to Trump and will almost
                   certainly lean on him to reject any deal they don’t like.                 3.
                                                                                                  TOP DIVIDEND INCOME
                                                                                                                                          
                                                                                                  FUNDS
                   Congressional rejection could also raise the prospect of
                                                                                                  BEST DIVIDEND STOCK
                   reputational risks for Oracle because lawmakers could seek                4.
                                                                                                  FUNDS
                                                                                                                                          

                   to shame the company for cutting a deal that they argue                                            Sponsored by


                   undercuts U.S. national security.

                   The proposal presented to Cfius stands in stark contrast to
                   what was originally called for by President Trump in a pair of
                   executive orders issued last month calling for a ban of the
                   app unless it was sold to an American owner.

                   The new TikTok deal with Oracle doesn’t call for the software
                   company to buy the business outright. Instead, Bytedance
                   would maintain majority ownership and provides Oracle with
                   a stake in the business and a role as a key technology
                   partner.

                   At least three shareholders in TikTok’s Chinese parent
                   company -- General Atlantic, Sequoia Capital and Coatue
                   Management -- would take stakes in the new business, said
                   the people, all of whom asked not to be identified because
                   the terms aren’t finalized. Walmart Inc., which had previously
                   partnered with Microsoft Corp. to make an outright bid for
                   TikTok’s U.S. business, remains interested in investing as well,
                   the company said earlier this week.


0++ /! /+ + ,, , ,,#*&'%#(%'/                                                              '##
        Case 1:25-cv-23147-DPG Document 1-5 Entered on FLSD Docket 07/15/2025 Page 41 *+#)+$".#1#)
 -     / / !                           of 44

                   The Oracle proposal being considered by Cfius also lacks the
                   payment to the U.S. government that the president had
                   insisted be the condition of any deal, according to two
                   people familiar with the plan. Yet TikTok will try to use the
                   promise of creating 20,000 new jobs through the popular
                   video app as a way to win his approval, they said.

                   The deal would also have to get the blessing from the
                   Chinese government, which has outwardly scolded Trump for
                   pushing a fire-sale of TikTok and publicly shown its support
                   for Bytedance, recently giving the tech giant the green light
                   to acquire a company with a coveted national digital
                   payment license — a competitive arena that Beijing strictly
                   controls.

                   (Updates with Trump reaction, proposed deal terms, from
                   fourth paragraph)

                   For more articles like this, please visit us at bloomberg.com

                   Subscribe now to stay ahead with the most trusted business
                   news source.

                   ©2020 Bloomberg L.P.




              Our goal is to create a safe and engaging place for users to connect over interests
              and passions. In order to improve our community experience, we are temporarily
              suspending article commenting.




0++ /! /+ + ,, , ,,#*&'%#(%'/                             (##
        Case 1:25-cv-23147-DPG
                 **    Document
                       " )          1-5 (
                                                 Entered on    FLSD Docket 07/15/2025 Page 42&'!$'"
                                                                                            of 44)%,$ 




                 Democracy Dies in Darkness



              
               
             
            "$ $"   # 

            $

              !%!%! 


            TikTok offered to create a new U.S.-based company and add 20,000 jobs in a bid to win over U.S.
            government support for its proposal to address President Trump’s security claims and keep its
            short-form video app operating in the country.

            Treasury Secretary Steven Mnuchin revealed a few details in an appearance on CNBC on Monday
            morning, also corroborating that Oracle was involved in the proposal.

            “I want to be careful what I say, but I will confirm we did get a proposal over the weekend that
            includes Oracle as the trusted technology partner, with Oracle making many representations for
            national security issues,” Mnuchin said. “There’s also a commitment to create TikTok Global as a
            U.S. headquartered company with 20,000 new jobs.”

            TikTok runs its U.S. operations from Culver City, Calif., just west of Los Angeles. The Washington
            Post previously reported that TikTok approached the administration with a mitigation proposal.




+''** '   '" " ' &'!$'((   (  '                              ! #
        Case 1:25-cv-23147-DPG
                 **    Document
                       " )          1-5 (
                                                 Entered on    FLSD Docket 07/15/2025 Page 43&'!$'"
                                                                                            of 44)%,$ 

            While Mnuchin didn’t go into detail about the proposal, people familiar with the talks who spoke
            on the condition of anonymity to discuss them candidly told The Post that the proposed
            arrangement would allow its parent company, ByteDance, to retain ownership but outsource
            management of data to Oracle’s cloud-computing operations. If a deal along that structure wins
            administration approval, it would represent a significant step back from what the president
            demanded when he first threatened to ban the app in the United States in July. At the time,
            Trump pushed to force the sale of TikTok’s U.S. operations to an American company.

            Oracle emerged as the unlikely victor Sunday afternoon to work with TikTok to try to satisfy both
            the U.S. and Chinese governments, beating out a rival bid from Microsoft. Trump previously
            issued an order that would ban the app in the United States beginning Sept. 20 over national
            security concerns. He followed that with a second order that would essentially require ByteDance
            to divest from its operations in the United States.

            Mnuchin didn’t say that Oracle would take an ownership position, but he said it would serve as
            “the trusted technology partner.”

            In a statement, TikTok spokeswoman Hilary McQuaide said, “We can confirm that we’ve
            submitted a proposal to the Treasury Department which we believe would resolve the
            Administration’s security concerns.”

            In a statement after Mnuchin’s comments, Oracle spokeswoman Deborah Hellinger confirmed
            that “it is part of the proposal submitted by ByteDance to the Treasury Department over the
            weekend in which Oracle will serve as the trusted technology provider.”

            Oracle is an unusual choice given that it has no consumer business. The company is massive but
            provides business software, such as database services, that companies use to run their operations.

            But Oracle’s close relationship with Trump may have given it an upper hand, as it beat out
            Microsoft to work with TikTok. Oracle’s chief executive, Safra Catz, has dined at the White House
            with Trump and served on the president’s transition team after his election in 2016. Oracle co-
            founder and chairman Larry Ellison hosted a fundraiser for Trump this year.

            Mnuchin said the administration “had a lot of confidence in both Microsoft and Oracle.”

            He would only say that national security remains the priority and that regulators will discuss the
            proposal with Oracle “over the next few days.”

            “A critical factor for us, driving national security, is making sure that the technology on
            Americans’ phones is safe and making sure that it is not corrupt,” Mnuchin said.


+''** '   '" " ' &'!$'((   (  '                              " #
        Case 1:25-cv-23147-DPG
                 **    Document
                       " )          1-5 (
                                                 Entered on    FLSD Docket 07/15/2025 Page 44&'!$'"
                                                                                            of 44)%,$ 

            TikTok has repeatedly insisted that it is not a national security threat and that it does not share
            any U.S. customer information with the Chinese government.

            The new proposal will be taken up by the Committee on Foreign Investment in the United States,
            which reviews national security implications of foreign investments.

            “Then we’ll be making a recommendation to the president and reviewing it with him,” Mnuchin
            said.

            Rachel Lerman and Ellen Nakashima contributed to this report.




+''** '   '" " ' &'!$'((   (  '                               # #
